             Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 1 of 14



                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


 KEVIN LANGEN, individually and on behalf of         Case No.
 all others similarly situated,

                    Plaintiff,                       FLSA Collective Action

 v.                                                  Jury Trial Demanded

 CRESCENT DRILLING AND
 PRODUCTION, INC.,

                    Defendant.




                                      ORIGINAL COMPLAINT

                                                SUMMARY

       1.      Kevin Langen (Langen) brings this lawsuit to recover the unpaid overtime wages and other

damages owed under the Fair Labor Standards Act (FLSA).

       2.      Crescent Drilling & Production, Inc. (CD&P) is a private company engaged in the

management of oil and natural gas properties.

       3.      CD&P employs oilfield personnel, like Langen, to carry out its work.

       4.      Langen, and the other workers like him, were typically scheduled for 12 plus hour shifts,

7 days a week, for weeks at a time.

       5.      But CD&P did not pay Langen or the other workers like him overtime.

       6.      Instead of paying overtime as required by the FLSA, CD&P paid these workers a day-rate

and improperly classified them as independent contractors.

       7.      This collective action seeks to recover the unpaid overtime wages and other damages owed

to these workers.
              Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 2 of 14



                                         JURISDICTION & VENUE

        8.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).

        9.      Venue is proper pursuant to 28 U.S.C. § 1391 (b) because a substantial part of the events

or omissions giving rise to the claim occurred in this District.

        10.     Langen worked in this District and Division.

        11.     Langen is a resident of this District and Division.

                                                  PARTIES

        12.     From approximately September 2015 to November 2017, Langen worked for CD&P as a

Flowback Coordinator.

        13.     CD&P staffed Langen to Sanchez Oil & Gas Corporation (SOG).

        14.     Throughout his employment with CD&P, he was paid a day-rate with no overtime

compensation and he was classified as an independent contractor.

        15.     His consent to be a party plaintiff is attached as Exhibit A.

        16.     Langen brings this action on behalf of himself and all other similarly situated workers who

were classified as independent contractors and paid according to CD&P’s day-rate system.

        17.     CD&P paid each of these workers a flat amount for each day worked and failed to pay

them overtime for all hours that they worked in excess of 40 hours in a workweek.

        18.     The class of similarly situated employees sought to be certified as a collective action is

defined as:

                All workers who provided services to or on behalf of Crescent Drilling &
                Production during the past 3 years who were classified as independent
                contractors and paid on a day rate basis with no overtime (the “Day Rate
                Workers”).

        19.     Langen seeks conditional and final certification of this FLSA collective action under 29

U.S.C. § 216(b).
                                                    -2-
                Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 3 of 14



          20.      Defendant, Crescent Drilling & Production, may be served by serving its registered agent

for service of process, Lisa Africk, 2400 Veterans Memorial Blvd, Suite 110, Kenner, Louisiana 70062.

                                                FLSA COVERAGE

          21.      CD&P offers Engineering and Project Management services to cover all functions

required for an operator to successfully manage onshore and offshore properties.1

          22.      For at least the past decade, CD&P has consistently employed dozens of workers in the

United States.

          23.      CD&P is an employer within the meaning of the FLSA. 29 U.S.C. § 203(d).

          24.      CD&P is a covered enterprise within the meaning of Section 3(r) of the FLSA. 29 U.S.C.

§ 203(r).

          25.      CD&P’s annual revenues of more than $1,000,000 per year far exceed the minimum

($500,000) required for coverage under the FLSA.

          26.      CD&P’s workers handled, sold, and/or worked on goods or materials that moved in or

were produced for commerce by any person.

          27.      For example, CD&P’s workers use wrenches, hammers, screw drivers, cell phones,

automobiles, computers, steel toe boots, and fire-retardant clothing in performing their work.

          28.      In assisting with the production of oil and gas, Langen and the Day Rate Workers engaged

in commerce or in the production of goods for commerce.

          29.      CD&P treated Langen and the Day Rate Workers as employees and dictated the pay

practices Langen and the Day Rate Workers were subjected to.

          30.      CD&P’s misclassification of Langen and the Day Rate Workers as independent

contractors does not alter its status as their employer for purposes of the FLSA.




1   https://www.crescentdrilling.com/company-profile (last visited March 29, 2019).
                                                       -3-
                Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 4 of 14



                                         FACTUAL ALLEGATIONS

          31.    CD&P is a large oil and gas company.

          32.    It operates throughout the United States, and in Texas.

          33.    In order to make the goods and provide the services it markets to its customers; CD&P

employs oilfield personnel like Langen and the Day Rate Workers and staffs them to oil and gas operators.

          34.    These oilfield workers carry out the hands-on, day-to-day production work for CD&P.

          35.    CD&P paid Langen and the Day Rate Workers a flat sum for each day worked, regardless

of the number of hours that they worked that day (or in that workweek).

          36.    CD&P failed to pay Langen and the Day Rate Workers overtime for hours that they

worked in excess of 40 hours in a workweek.

          37.    For more than 2 years, Langen was one of these workers.

          38.    Langen typically worked 12 days on and 2 days off.

          39.    In a standard two-week period, Langen worked at least 84 hours in one week, and at least

60 hours in the other week.

          40.    But CD&P did not pay Langen overtime.

          41.    The work Langen performed was an essential part of CD&P’s core services.

          42.    During Langen’s employment with CD&P, CD&P exercised control (directly or jointly

through another company) over all aspects of his job.

          43.    Langen did not make substantial investment in order to perform the work CD&P required

of him.

          44.    CD&P determined Langen’s opportunity for “profit.”

          45.    Because Langen received a daily rate for every day worked, Langen could not experience

a “loss” in the sense relevant to determining whether someone is an employee under the FLSA.




                                                   -4-
              Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 5 of 14



        46.     Langen’s earnings were controlled by CD&P through the number of days it scheduled him

to work.

        47.     Langen did not provide unique services indicative of a third-party contractor.

        48.     Langen performed routine manual and technical job duties that were largely dictated by

CD&P and its clients.

        49.     Langen worked exclusively for CD&P and its clients while being misclassified as an

independent contractor from approximately September 2015 to November 2017.

        50.     Langen was not employed by CD&P on a project-by-project basis, but rather on a

consistent basis.

        51.     CD&P, individually and/or jointly with a company it contracted with, controlled all the

significant or meaningful aspects of the job duties performed by Langen.

        52.     CD&P, individually and/or jointly with a company it contracted with, controlled the hours

and locations Langen worked, the tools he used, and the rates of pay he received.

        53.     Langen used equipment provided by CD&P or its clients to perform his job duties.

        54.     Langen did not provide the equipment he worked with on a daily basis.

        55.     Langen did not incur operating expenses like rent, payroll, marketing, and insurance.

        56.     Langen was economically dependent on CD&P during his employment.

        57.     CD&P and the operator it staffed Langen to set Langen’s rates of pay, his work schedule,

and prohibited his (formally or practically) from working other jobs for other companies while he was

working on jobs for CD&P.

        58.     Langen’s working relationship with CD&P was similar to that of the other Day Rate

Workers.

        59.     Very little skill, training, or initiative (in the relevant sense of “business initiative”) was

required of Langen and the Day Rate Workers to perform their job duties.

                                                     -5-
               Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 6 of 14



        60.     Indeed, the daily and weekly activities of Langen and the Day Rate Workers were routine

and largely governed by standardized plans, procedures, and checklists created or mandated by CD&P.

        61.     Virtually every job function performed by Langen and the Day Rate Workers was pre-

determined by CD&P and/or its clients, including the tools to use at a job site, the data to compile, the

schedule of work, and related work duties.

        62.     Langen and the Day Rate Workers were generally prohibited from varying their job duties

outside of the pre-determined parameters.

        63.     The Day Rate Workers also worked similar hours and were denied overtime as a result of

the same illegal pay practice.

        64.     Like Langen, the Day Rate Workers were generally scheduled for daily shifts of 12 (or

more) hours for weeks at a time.

        65.     Langen and the Day Rate Workers did not receive a salary.

        66.     If Langen and the Day Rate Workers did not work on a particular day, they did not get

paid for that day.

        67.     Langen and the Day Rate Workers received a daily rate and were classified as independent

contractors.

        68.     Langen and the Day Rate Workers received the day rate regardless of the number of hours

they worked in excess of 40 hours in a work week.

        69.     Langen and the Day Rate Workers’ pay fluctuated in lockstep with the number of days

worked in a pay period.

        70.     Langen and the Day Rate Workers were paid their day rate times the number of days they

worked in a week.

        71.     Langen and the Day Rate Workers did not receive overtime pay.

        72.     Langen and the Day Rate Workers relied on CD&P for work and compensation.

                                                  -6-
              Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 7 of 14



        73.        Langen and the Day Rate Workers were not permitted by CD&P to subcontract out the

work CD&P assigned to them.

        74.        Langen and the Day Rate Workers worked in accordance with the schedule set by CD&P

and its clients.

        75.        Langen and the Day Rate Workers must follow CD&P’s policies and procedures.

        76.        Langen and the Day Rate Workers’ work must adhere to the quality standards put in place

by CD&P and its clients.

        77.        Langen and the Day Rate Workers did not make substantial capital investments in the

tools required to complete the jobs to which they were assigned.

        78.        CD&P knew, or acted with reckless disregard for whether, Langen and the Day Rate

Workers were misclassified as independent contractors.

        79.        CD&P knows employees are entitled to overtime pay for hours worked in excess of 40 in

a workweek.

        80.        Nonetheless, CD&P failed to pay Langen and the Day Rate Workers overtime for those

hours exceeding 40 in a workweek.

        81.        CD&P’s policy of classifying Langen and the Day Rate Workers as independent

contractors and failing to pay them overtime violates the FLSA because these workers are, for the

purposes of the FLSA, employees.

                                   COLLECTIVE ACTION ALLEGATIONS

        82.        The illegal pay practice CD&P imposed on Langen were likewise imposed on the Day Rate

Workers.

        83.        Numerous individuals were victimized by this pattern, practice, and policy which is in

willful violation of the FLSA. The Day Rate Workers are similarly situated in relevant respects.




                                                    -7-
              Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 8 of 14



        84.     Numerous other individuals who worked with Langen were classified as independent

contractors, paid in the same manner, performed similar work, and were not properly compensated for

all hours worked as required by applicable law.

        85.     Even if their precise job duties might vary somewhat, these differences do not matter for

the purposes of determining their entitlement to overtime.

        86.     Langen and the Day Rate Workers are all entitled to overtime after 40 hours in a week for

the same reasons.

        87.     The overtime owed to Langen and the Day Rate Workers will be calculated using the same

records and the same formula.

        88.     Langen and the Day Rate Workers are geographically disbursed, residing and working in

states across the county.

        89.     CD&P’s failure to pay overtime at the rates required federal law result from generally

applicable, systematic policies, and practices which are not dependent on the personal circumstances of

the Day Rate Workers.

        90.     Langen’s experiences are therefore typical of the experiences of the Day Rate Workers.

        91.     Langen has no interests contrary to, or in conflict with, the Day Rate Workers.

        92.     Absent a collective action, many members of the FLSA Class likely will not obtain redress

of their injuries and CD&P would retain the proceeds of its violation of the FLSA.

        93.     Individual litigation would be unduly burdensome to the judicial system.

        94.     Concentrating the litigation in one forum will promote judicial economy and parity among

the claims of individual members of the classes and provide for judicial consistency.

        95.     Langen and the Day Rate Workers are similarly situated within the meaning of 29 U.S.C.

§ 216(b).




                                                   -8-
              Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 9 of 14



                                          CAUSE OF ACTION

                                         Violation of the FLSA

       96.     As set forth herein, CD&P has violated, and is violating, the FLSA by employing Langen

and the Day Rate Workers in an enterprise engaged in commerce or in the production of goods for

commerce within the meaning of the FLSA for workweeks longer than 40 hours without compensating

such employees for their employment in excess of 40 hours per week at rates no less than 1 and ½ times

the regular rates for which they were employed.

       97.     CD&P knowingly, willfully, or in reckless disregard carried out this illegal pattern or

practice of failing to pay Langen and the Day Rate Workers overtime.

       98.     CD&P’s failure to pay overtime compensation to these employees was not reasonable, nor

was the decision not to pay overtime made in good faith.

       99.     CD&P’s failure to pay Langen and the Day Rate Workers overtime at rates not less than

one and one-half times their proper regular rate violates 29 U.S.C. § 207.

       100.    Accordingly, Langen and the Day Rate Workers are entitled to overtime under the FLSA,

liquidated damages, attorney’s fees and costs.

                                             JURY DEMAND

       101.    Langen demands a trial by jury.

                                                  PRAYER

       WHEREFORE, Langen prays for:

               a. An order designating this lawsuit as a collective action and authorizing notice pursuant

                   to 29 U.S.C. § 216(b) to the proposed Day Rate Workers to permit them to join this

                   action by filing a written notice of consent;




                                                   -9-
Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 10 of 14



  b. A judgment against CD&P awarding Langen and the Day Rate Workers all their

     unpaid overtime compensation and an additional, equal amount, as liquidated

     damages;

  c. An order awarding attorney fees, costs, and expenses;

  d. Pre- and post-judgment interest at the highest applicable rates; and

  e. Such other and further relief as may be necessary and appropriate.


                                 Respectfully submitted,

                                 By: /s/ Michael A. Josephson
                                     Michael A. Josephson
                                     State Bar No. 24014780
                                     Andrew Dunlap
                                     State Bar No. 24078444
                                     Richard M. Schreiber
                                     State Bar No. 24056278
                                     JOSEPHSON DUNLAP LLP
                                     11 Greenway Plaza, Suite 3050
                                     Houston, Texas 77046
                                     713-352-1100 – Telephone
                                     713-352-3300 – Facsimile
                                     mjosephson@mybackwages.com
                                     adunlap@mybackwages.com
                                     rschreiber@mybackwages.com

                                     AND

                                     Richard J. (Rex) Burch
                                     Fed. Id. 21615
                                     Texas Bar No. 24001807
                                     BRUCKNER BURCH PLLC
                                     8 Greenway Plaza, Suite 1500
                                     Houston, Texas 77046
                                     713-877-8788 – Telephone
                                     713-877-8065 – Facsimile
                                     rburch@brucknerburch.com

                                     ATTORNEYS IN CHARGE FOR PLAINTIFF




                                    - 10 -
                                     Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 11 of 14
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Kevin Langen, individually and on behalf of all others similarly situated.                                  Crescent Drilling and Production, Inc.

    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

Michael Josephson, Josephson Dunlap LLP 11 Greenway Plaza, Suite
3050, Houston, TX 77046 (713) 352-1100

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           29 USC 216(b)
VI. CAUSE OF ACTION Brief description of cause:
                                           Unpaid overtime wages.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
03/29/2019                                                              /s/ Michael A. Josephson
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 06/17)   Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 12 of 14

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 13 of 14




              EXHIBIT A
Case 5:19-cv-01194-FB Document 1 Filed 10/04/19 Page 14 of 14
